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                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                       CRIMINAL DOCKET

VERSUS                                                         NO.   19-113

MARTHA BUEZO MARTINEZ                                          SEC. “E”



                UNOPPOSED MOTION TO RESET SENTENCING DATE


       Now into Court, through undersigned counsel, comes the defendant Martha Buezo

Martinez, who respectfully requests a resetting of the presently scheduled sentencing date from

April 6, 2021 at 2:00 p.m. for the following reasons to wit:

                                             I.

       Counsel for Ms. Martinez requests additional time to allow for Ms. Martinez to continue

to make restitution payments prior to sentencing and requests that the sentencing in this matter be

continued to allow for an in-person hearing for this Honorable Court when conditions improve due

to the pandemic.

                                             II.

       Assistant United States Attorney Duane Evans, who is handling this matter has been

contacted and has no objection to this request.
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       WHEREFORE, for the above reasons, it is respectfully requested that the sentencing of

Ms. Martinez presently set for April 6, 2021, be reset.



                                              Respectfully submitted,



                                              /s/ BRIAN J. CAPITELLI
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                                              Counsel for Martha Buezo Martinez


                                 CERTIFICATE OF SERVICE

               I hereby certify that on 22nd day of March, 2021. I electronically filed the foregoing
with the Clerk of Court by using the CM/ECF system which will send a notice of electronic filing
to the following: Assistant United States Attorney and United States Probation Officer.


                                      /S/BRIAN J. CAPITELLI
                                      BRIAN J. CAPITELLI
